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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 20-CV-61066-RAR

  NINA TSCHAPEK,

         Plaintiff,

  v.

  KEYSTONE BUILDERS, INC., et al.,

        Defendants.
  _________________________________/

                  ORDER ADOPTING REPORT AND RECOMMENDATION

         THIS CAUSE comes before the Court on Defendants’ Motion to Compel Arbitration and

  to Dismiss Complaint [ECF No. 18] (“First Motion”), Defendants’ Second Motion to Compel

  Arbitration and to Dismiss Complaint [ECF No. 32] (“Second Motion”), and Defendants’

  Amended Second Motion to Compel Arbitration and to Dismiss First Amended Complaint [ECF

  No. 37] (“Amended Motion”). These matters were referred to the Honorable Jared M. Strauss,

  United States Magistrate Judge, for a Report and Recommendation (“Report”). The Court has

  carefully reviewed Magistrate Judge Strauss’s Reports [ECF Nos. 34, 38] as well as the entire

  record. As of the date of this Order, no party has filed any objection to the Reports, and the time

  to do so pursuant to Local Magistrate Rule 4(b) has elapsed. Accordingly, it is

         ORDERED AND ADJUDGED as follows: (1) the Reports [ECF Nos. 34, 38] are hereby

  AFFIRMED and ADOPTED; (2) the First Motion [ECF No. 18] is DENIED as moot; and (3)

  the Second Motion [ECF No. 32] and the Amended Motion [ECF No. 37] are DENIED without

  prejudice pending a jury trial on the limited issue of whether Plaintiff signed the alleged arbitration

  agreement.
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        DONE AND ORDERED in Fort Lauderdale, Florida, this 6th day of November, 2020.




                                                RODOLFO A. RUIZ II
                                                UNITED STATES DISTRICT JUDGE




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